hrgntc 9/2022



                        UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF IOWA
In Re:
                                                                    Chapter 7
BDC Group, Inc.
                                                                    Bankruptcy No. 23−00484

Debtor




                             NOTICE SETTING HEARING
          ON MOTION FOR ORDER TO SHOW CAUSE (DOC. 431) AND MOTION FOR
          CLARIFICATION OF STIPULATED ORDER FOR STAY RELIEF AND OTHER
           MATTERS, OR ALTERNATIVELY FOR RELIEF FROM ORDER (DOC. 450)



To:

Elizabeth Lally, Attorney for Trustee
Renee K. Hanrahan, Trustee
United States Trustee
Abram V. Carls, and Eric Lam, Attorneys for Keystone Savings Bank
Jeffrey Douglas Goetz, Jordan A. Kroop, Timothy N. Lillwitz, and Jason Rosell, Attorneys for Zayo
Group, LLC



NOTICE IS HEREBY GIVEN the above matter(s) will come before the Court on:

                                 March 20, 2024 at 10:30 via telephonic hearing.

                   All parties wishing to participate may use the following dial in instructions.

                                   1. Call the toll free number: 1−888−684−8852
                                     2. Enter Participant Access Code: 7148063
                                    3. Enter the Participant Security Code: 1234
                  4. After the security code is entered, you will be connected into the conference
                          5. Please identify yourself after you have joined the conference




Date: March 18, 2024                                      Sharon K. Mullin
                                                          Clerk, Bankruptcy Court
                                                          by:


                                                         Deputy Clerk
